       Case 1:17-cr-00083-DLH        Document 129        Filed 05/25/17     Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                   )
                                            )
              Plaintiff,                    )      ORDER
                                            )
       vs.                                  )
                                            )
Paden Duane Streitz,                        )      Case No. 1:17-cr-083
                                            )
              Defendant.                    )


       The court has been advised that defendant has retained attorney Kevin Chapman.

Accordingly, the court authorizes defendant’s court-appointed counsel, Challis Dern Williams, to

withdraw. Attorney Kevin Chapman shall be substituted as defense counsel of record.

       IT IS SO ORDERED.

       Dated this 25th day of May, 2017.

                                                   /s/ Charles S. Miller, Jr.
                                                   Charles S. Miller, Jr., Magistrate Judge
                                                   United States District Court
